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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

MISSISSIPPI STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE;
DR. ANDREA WESLEY; DR. JOSEPH
WESLEY; ROBERT EVANS; GARY
FREDERICKS; PAMELA HAMNER
BARBARA FINN; OTHO BARNES;
SHIRLINDA ROBERTSON; SANDRA
SMITH; DEBORAH HULITT; RODESTA
TUMBLIN; DR. KIA JONES; MARCELEAN ARRINGTON;
VICTORIA ROBERTSON                                                               PLAINTIFFS

VS.                                             CIVIL ACTION NO. 3:22-cv-734-DPJ-HSO-LHS

STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES, in his
official capacity as Governor of Mississippi;
LYNN FITCH, in her official capacity as
Attorney General of Mississippi; MICHAEL
WATSON, in his official capacity as Secretary
of State of Mississippi                                                        DEFENDANTS

and

MISSISSIPPI STATE REPUBLICAN
EXECUTIVE COMMITTEE                                              DEFENDANT-INTERVENOR


                   JOINT STIPULATION AS TO EXPERT MORRISON

       COME NOW THE PARTIES, Plaintiffs, Mississippi Conference of the National

Association for the Advancement of Colored People (“MS NAACP”), Dr. Andrea Wesley, Dr.

Joseph Wesley, Robert Evans, Gary Fredericks, Pamela Hamner, Barbara Finn, Otho Barnes,

Shirlinda Robertson, Sandra Smith, Deborah Hulitt, Rodesta Tumblin, Dr. Kia Jones, Marcelean

Arrington, and Victoria Robertson (the “Plaintiffs”), Defendants, State Board of Election

Commissioners, Tate Reeves, in his official capacity as Governor of Mississippi, Lynn Fitch, in

her official capacity as Attorney General of Mississippi, and Michael Watson, in his official
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capacity as Secretary of State of Mississippi (the “Defendants”), and the Mississippi State

Republican Executive Committee (“Defendant-Intervenor”), and stipulate and agree as follows:

       1.      Plaintiffs may re-open the deposition of Dr. Peter Morrison, previously conducted

on December 1, 2023, at a mutually agreeable time and place, for the limited purpose of examining

Dr. Morrison related solely to the two statistical tests included in his supplemental report submitted

on December 11, 2023.

       2.      Plaintiffs are limited to a time period of two (2) hours to conduct their examination

of Dr. Morrison. This time period does not apply to any re-direct examination by counsel for

Defendants.

       3.      Plaintiffs will be responsible for payment of Dr. Morrison’s reasonable time and

expenses spent in preparation for and participation in the re-opened deposition, consistent with

Federal Rule 26(b)(4)(E)(i).

       4.      Plaintiffs will be allowed to submit a surrebuttal report within ten (10) business

days of the date of this Joint Stipulation. Plaintiffs agree that any such surrebuttal report shall be

limited in scope to responding to the supplemental report submitted by Dr. Morrison on December

11, 2023.

       5.      Plaintiffs agree that by virtue of entry of this Joint Stipulation, they withdraw their

Motion in Limine to Exclude Untimely Expert Testimony from Dr. Peter Morrison [Dkt. # 170]

and supporting Memorandum of Law [Dkt. # 171] previously filed on January 4, 2024. Plaintiffs

further agree not to seek any relief in the future that was the subject of such Motion.




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This the 19th day of January, 2024.


                                      /s/ Ari Savitzky
                                      Ari Savitzky pro hac vice
                                      Kelsey Miller, pro hac vice
                                      Ming Cheung, pro hac vice
                                      Patricia Yan, pro hac vice
                                      ACLU FOUNDATION

                                      Joshua F. Tom (MB No. 105392)
                                      ACLU OF MISSISSIPPI

                                      Robert B. McDuff (MB No. 2532)
                                      MISSISSIPPI CENTER FOR JUSTICE

                                      Carroll Rhodes (MB No. 5314
                                      LAW OFFICES OF CARROLL RHODES

                                      John P. Lavelle, Jr., pro hac vice
                                      Drew C. Jordan, pro hac vice
                                      MORGAN, LEWIS & BOCKIUS

                                      Ezra D. Rosenberg, pro hac vice
                                      Jennifer Nwachukwu, pro hac vice
                                      David Rollins-Boyd, pro hac vice
                                      LAWYERS COMMITTEE FOR CIVIL
                                      RIGHTS UNDER LAW

                                      Counsel for Plaintiffs




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This the 19th day of January, 2024.



                                      /s/ Tommie S. Cardin
                                      Tommie S. Cardin (MB #5863)
                                      P. Ryan Beckett (MB #99524)
                                      B. Parker Berry (MB #104251)
                                      BUTLER SNOW LLP

                                      Rex M. Shannon III (MB #102974)
                                      STATE OF MISSISSIPPI
                                      OFFICE OF THE ATTORNEY GENERAL
                                      CIVIL LITIGATION DIVISION

                                      Counsel for Defendants




This the 19th day of January, 2024.



                                      /s/ Michael B. Wallace
                                      Michael B. Wallace (MB #6904)
                                      Charles E. Cowan (MB #104478)
                                      WISE CARTER CHILD & CARAWAY, P.A.

                                      Counsel for Defendant-Intervenor
                                      Mississippi State Republican Executive Committee




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                                 CERTIFICATE OF SERVICE

        I, Tommie S. Cardin, one of the attorneys for the Defendants, do hereby certify that I have

this day filed the above and foregoing document with the Clerk of the Court using the ECF system

which sent notification of such filing to all counsel of record.

        This the 19th day of January, 2024.


                                               /s/ Tommie S. Cardin
                                               Tommie S. Cardin




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